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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


                                        )
AMERICAN ASSOCIATION OF                 )
UNIVERSITY PROFESSORS, ET AL.,          )   Civil Action No. 1:25-cv-10685-WGY
                                        )
            Plaintiffs,                 )
                                        )
      v.                                )   CERTIFIED
                                        )   ADMINISTRATIVE RECORD
                                        )
MARCO RUBIO, in his official capacity   )
as Secretary of State, and the          )
DEPARTMENT OF STATE, ET AL.,            )
                                        )
                                        )
            Defendants.                 )
                                        )
Case 1:25-cv-10685-WGY   Document 106   Filed 05/29/25   Page 2 of 40
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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                              )
 AMERICAN ASSOCIATION OF                      )
 UNIVERSITY PROFESSORS, ET AL.,               )       Civil Action No. 1:25-cv-10685-WGY
                                              )
               Plaintiffs,                    )
                                              )
        v.                                    )       CERTIFICATION OF
                                              )       ADMINISTRATIVE RECORD
                                              )
 MARCO RUBIO, in his official capacity        )
 as Secretary of State, and the               )
 DEPARTMENT OF STATE, ET AL.,                 )
                                              )
                                              )
               Defendants.                    )
                                              )


I, Larry W. Talbott, hereby declare under penalty of perjury:

   1. I am employed by the United States Department of State, Bureau of Consular Affairs,

       Visa Office, Office of Information Management and Liaison. The facts attested to herein

       are based upon my personal knowledge and upon information provided to me in my

       official capacity.

   2. Noting that this is not a traditional Administrative Record, because it is addressing the

       absence of a policy alleged to exist in litigation, and is further compiled for purposes of

       non-traditional review in a Rule 65(a) expedited proceeding, I certify that the following

       documents annexed hereto constitute the Department of State’s administrative record in

       this matter, which consists of the declaration of John Armstrong, dated April 11, 2025,

       previously submitted to this Court (Dkt.# 65-1), describing the Department of State’s

       requirements and polies relating to visa revocation and affirming that it is not true that the



                                                  1

                                          SBU - LEGAL
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       Department is approving visa revocations for “ideological deportation” reasons, a true

       and correct version of the Department of State Cable 26168, redacted for Law

       Enforcement Privilege, and the following documents related to five individuals, filed in

       separate litigation:

       a.         Notification of Removability Determination under INA 237(a)(4)(C)

       b.            Notification of Removability Determination under INA 237(a)(4)(C)

       c.          Visa Revocation – Memo for ICE

       d.         Notification of Removability Determination under INA 237(a)(4)(C)

       e.       Notification of Removability Determination under INA 237(a)(4)(C)

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1476, that the foregoing is true and

correct to the best of my knowledge.

                                             ___________________________________________
                                             Larry W. Talbott
                                             Deputy Director
                                             Office of Information Management and Liaison
                                             Visa Office, Bureau of Consular Affairs
                                             U.S. Department of State




                                                 2

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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                             )
 AMERICAN ASSOCIATION OF                     )
 UNIVERSITY PROFESSORS, ET AL.,              )       Civil Action No. 1:25-cv-10685-WGY
                                             )
              Plaintiffs,                    )
                                             )
        v.                                   )       CERTIFICATION OF
                                             )       ADMINISTRATIVE RECORD
                                             )
 MARCO RUBIO, in his official capacity       )
 as Secretary of State, and the              )
 DEPARTMENT OF STATE, ET AL.,                )
                                             )
                                             )
              Defendants.                    )
                                             )


I, Akil Baldwin, hereby declare under penalty of perjury:

   1. I am the Deputy Assistant Director for the National Security Division of Homeland

       Security Investigations (HSI). Prior to becoming the Deputy Assistant Director, I served

       as the Division Chief for the HSI Office of International Operations. I have additionally

       served as the HSI Attache in Hong Kong; Assistant Special Agent in Charge in New

       York, N.Y., and Assistant Attache in Brussels, Belgium. The facts attested to herein are

       based upon my personal knowledge and upon information provided to me in my official

       capacity.

   2. Noting that this is not a traditional Administrative Record, because it is addressing the

       absence of a policy alleged to exist in litigation, and is further compiled for purposes of

       non-traditional review in a Rule 65(a) expedited proceeding, I certify that the declaration

       of HSI National Security Division Assistant Director Andre Watson, dated April 11,



                                                 1
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       2025, previously submitted to this Court (Dkt.# 65-2), describing the Department of

       Homeland Security’s processes for identifying, disrupting and dismantling transnational

       criminal enterprises and terrorist organizations that threaten the security, and confirming

       that the Department has no official or unofficial “ideological deportation policy,” is part

       of the U.S. Immigration and Customs Enforcement’s administrative record in this matter.

   3. In good faith, I certify the document that was put before me. There’s a separate

       certification pertaining to other U.S. Immigration and Customs Enforcement documents

       and a separate certification pertaining to U.S. Department of State’s documents reflected

       in the index and record.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1476, that the foregoing is true and

correct to the best of my knowledge.




                                                 ________________________________________
       ___________________________________       Akil Baldwin
                                                 Deputy Assistant Director
                                                 National Security Division
                                                 Homeland Security Investigations
                                                 U.S. Immigration and Customs Enforcement
                                                 U.S. Department of Homeland Security




                                                    2
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                            )
 AMERICAN ASSOCIATION OF                    )
 UNIVERSITY PROFESSORS, ET AL.,             )       Civil Action No. 1:25-cv-10685-WGY
                                            )
              Plaintiffs,                   )
                                            )
        v.                                  )       CERTIFICATION OF
                                            )       ADMINISTRATIVE RECORD
                                            )
 MARCO RUBIO, in his official capacity      )
 as Secretary of State, and the             )
 DEPARTMENT OF STATE, ET AL.,               )
                                            )
                                            )
              Defendants.                   )
                                            )


I, William S. Walker, hereby declare under penalty of perjury:

   1. I am the Acting Assistant Director for Domestic Operations at Homeland Security

       Investigations (“HSI”) at U.S. Immigration and Customs Enforcement (“ICE”) within the

       U.S. Department of Homeland Security (“DHS”). As the Acting Assistant Director, I am

       responsible for oversight of 30 HSI Special Agents in Charge, ensuring all field

       operations are working to efficiently execute the agency mission.

   2. I began my career with the U.S. Government as an Inspector with the former U.S.

       Customs Service at the Port of Philadelphia. Over 26 years, I have served as Deputy

       Special Agent in Charge, Assistant Special Agent in Charge, and Supervisory Special

       Agent with HSI. Most recently, I served as the Special Agent in Charge of HSI’s New

       York Field Office where I oversaw over 700 investigators whose mission was

       investigating, disrupting, and dismantling transnational criminal organizations and



                                                1
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       terrorist networks. In my capacity as Acting Assistant Director, I now oversee 237

       Domestic Field Offices and more than 7,100 Special Agents.

   3. In good faith, I certify the documents that were put before me. There’s a separate

       certification pertaining to the U.S. Department of State’s documents reflected in the index

       and record.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1476, that the foregoing is true and

correct to the best of my knowledge.

                                       ___________________________________________
                                       William S. Walker
                                       HSI Acting Assistant Director for Domestic Operations
                                       U.S. Immigration and Customs Enforcement




                                                   2
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS., et al.,


Plaintiffs,
                                                      No. 1:25-CV-10685
v.
MARCO RUBIO, et al.,


Defendants.


                           DECLARATION OF ANDRE WATSON
I, Andre Watson pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am the Senior Official within the National Security Division (NSD) for Homeland

Security Investigations (HSI). I am a career member of the Senior Executive Service with the rank

of Assistant Director. Prior to becoming the Assistant Director of NSD, I served on a detail

assignment to the U.S. Department of Homeland Security in the capacity of Principal Deputy

Assistant Secretary for the Countering Weapons of Mass Destruction Office. I served as the HSI

Special Agent in Charge in Baltimore, M.D., Deputy Special Agent in Charge in Washington, D.C.,

Assistant Special Agent in Charge in Houston, T.X., and Supervisory Special Agent in Blaine,

W.A. I have also previously served in Headquarters assignments as Chief of Staff to the Deputy

Director of U.S. Immigration and Customs Enforcement (ICE), Chief of Intelligence for the U.S.

Department of Justice, International Organized Crime and Intelligence Operations Center, and

various supervisory positions within NSD.




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       2.      As the Senior Official within NSD, I oversee the National Security as well as

Student and Exchange Visitor Programs functions in support of ICE efforts to identify, disrupt and

dismantle transnational criminal enterprises and terrorist organizations that threaten the security

of the United States. These efforts encompass all investigations and aspects of terrorism, special

interests involving state and non-state actors, human rights violators and war criminals as well as

compliance and oversight functions for over 6,900 academic institutions, 45,000 designated school

officials, and over 1.2 million foreign students studying in the United States.

       3.      HSI is a component of ICE that conducts significant and complex criminal

investigations into individuals and international criminal networks that violate U.S. laws. HSI

focuses its efforts on combating the transnational criminal networks that pose the greatest threats

to the security of the United States. HSI has more than 10,000 employees stationed in more than

235 U.S. cities and more than 50 countries worldwide. The HSI workforce is made up of special

agents, criminal analysts, intelligence analysts, and support personnel who live and work in the

communities they are sworn to protect and serve.

       4.      The Student and Exchange Visitor Program (SEVP), a component of HSI’s

National Security Division, was created in the wake of 9/11 to provide integrity to the immigration

system by collecting, maintaining and analyzing information so only legitimate nonimmigrant

students or exchange visitors can gain entry in the U.S. Through a database housing information

pertaining to schools and students, the Student and Exchange Visitor Information System (SEVIS),

SEVP manages and tracks nonimmigrants in the F, M, and J categories. To eliminate vulnerabilities

related to the nonimmigrant visa program, Congress first introduced statutory language mandating

the development of a program to collect data and improve tracking of foreign students in the Illegal

Immigration Reform and Immigrant Responsibility Act of (IIRIRA) of 1996. In 2001, Congress




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expanded the foreign student tracking system when it enacted PATRIOT ACT, and in 2002

Congress strengthened the tracking system yet again, through the Enhanced Border Security and

Visa Entry Reform Act, noting concerns with national security and emphasizing the need to

carefully track student status and information.         Accordingly, these laws and regulations

demonstrate a clear congressional directive that ICE closely monitor foreign students and the

schools in which they enroll by vigorously enforcing statutory and regulatory requirements.

       5.      I am aware of the above-captioned lawsuit. I provide this declaration based on my

personal knowledge, reasonable inquiry, and information obtained from various records, systems,

databases, other Department of Homeland Security (DHS) employees, and information portals

maintained and relied upon by DHS in the regular course of business.

       6.      On January 29, 2025, President Trump issued Executive Order 14188, Additional

Measures to Combat Anti-Semitism (E.O. 14188). ICE remains steadfast in its commitment to

enforcing E.O. 14188 prohibiting anti-Semitism and safeguarding national security by applying

existing authorities consistent with the priorities set forth in the E.O. 14188.

       7.      In applying existing authorities,, HSI Office of Intelligence proactively reviews

open-source information to identify individuals within the parameters of E.O. 14188. Open-source

information is defined as unclassified information that has been published or broadcast in some

manner to the general public, could be lawfully seen or observed by a casual observer, is made

available at a meeting open to the public, or is obtained by visiting any place or attending any

event that is open to the public.

       8.      The U.S. Department of State (DOS) has broad discretion under 8 U.S.C. § 1201(i)

to revoke visas and make determinations of whether an alien’s present or activities in the United

States would have potentially serious adverse foreign policy consequences. ICE does not make




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those determinations. Upon notification of DOS determination, ICE may take subsequent

enforcement actions such as placing the alien in removal proceedings under the Immigration and

Nationality Act (INA). HSI’s Counter Threat Lead Development Unit (CTLD) is specifically

responsible for analyzing alien nonimmigrant status violators, lawfully admitted to the United

States, who violate the terms of their admission and pose a threat to national security, public safety

and/or are involved in criminal activity for field referral and further investigation. Since 2003, the

National Security Division has overseen this mission. Currently, CTLD receives over one million

alien violator records each year, primarily from U.S. Customs and Border Protection (CBP) Arrival

and Departure Information System (ADIS), as well as from SEVIS. CTLD generates viable,

investigative leads on nonimmigrant overstays with national security and public safety concerns

and/or criminal activity to HSI field offices for further action. CTLD may also provide information

to DOS for possible visa revocation if appropriate. .

       9.      Procedurally, once DOS notifies ICE of its decisions concerning whether to revoke

a visa or make certain determinations that would render a alien removable, the determination is

then disseminated to the local field office for additional enforcement actions against the student

(e.g., issuing a Notice to Appear in removal proceedings) if appropriate.

       10.     Enforcement actions carried out against aliens within the purview of E.O.14188

occur pursuant to ICE’s existing civil immigration authorities under the INA. There is no official

or unofficial “ideological deportation policy.” Aliens may be charged with any deportation ground

under the INA supported by fact and law.




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I declare under penalty of perjury that the foregoing is true and correct.


Executed this 11th day of April 2025.
                                              ANDRE R Digitally      signed by
                                                            ANDRE R WATSON

                                              WATSON Date:        2025.04.11
                                              ___________________________________
                                                            18:22:22 -04'00'
                                              Andre Watson, Assistant Director
                                              National Security Division
                                              Homeland Security Investigations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security




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                                                    UNCLASSIFIED
                                                        SBU




                MRN:            25 STATE 26168
                Date/DTG:       Mar 25, 2025 / 251914Z MAR 25
                From:           SECSTATE WASHDC
                Action:         ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE Immediate
                E.O:            13526
                TAGS:           CVIS, CMGT, PTER, KFRD
                Captions:       SENSITIVE
                Reference:      25 STATE 5914
                Subject:        (U) Action Request: Enhanced Screening and Social Media Vetting for Visa
                                Applicants


               1. (U) This is an action request. See paragraph 7.

               2. (SBU) SUMMARY: The protection of our nation and its citizens is a
               consular officer's first consideration. Pursuant to the implementation of
               Executive Order (E.O.) 14161 and E.O. 14188, known respectively as
               Protecting the United States from Foreign Terrorists and Other National
               Security and Public Safety Threats and Additional Measures to Combat Anti-
               Semitism, effective immediately, consular officers must refer certain student
               and exchange visitor (F, M, and J) visa applicants to the Fraud Prevention
               Unit (FPU) for a mandatory social media check as described below. As the
               Secretary stated on March 16, "We don't want people in our country that
               are going to be committing crimes and undermining our national security or
               the public safety. It's that simple. Especially people that are here as
               guests. That is what a visa is…It is a visitor into our country. And if you
               violate the terms of your visitation, you are going to leave." The Visa Office
               will host webinars for consular officers to discuss this guidance on April 3
               and April 4, 2025. END SUMMARY.

               3. (SBU) Consular Officers Play a Critical Role in Protecting National
               Security: As part of screening every case for potential ineligibilities, consular
               officers MUST ADDRESS any derogatory information indicating that a visa




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               applicant may be subject to the terrorism-related ineligibility grounds of the
               Immigration and Nationality Act (INA). This includes advocating for,
               sympathizing with, or persuading others to endorse or espouse terrorist
               activities or support a DESIGNATED FOREIGN TERRORIST ORGANIZATION
               (FTO).

               4. (SBU) Every Visa Decision is a National Security Decision: In Ref A, the
               Visa Office directed consular officers to maintain extra vigilance and to
               comprehensively review and screen every visa applicant for potential
               security and non-security related ineligibilities including to assess whether
               the applicant poses a threat to U.S. national security. Any nonimmigrant
               visa applicant who has not established to a consular officer's satisfaction
               that the applicant meets all standards required in that visa classification
               should be refused under 214(b), as appropriate. This includes establishing
               that the applicant does not intend to engage in activities inconsistent with
               the requested visa status. If 214(b) does not apply to the visa classification,
               consular officers should refuse any nonimmigrant or immigrant visa case
               presenting such concerns under section 221(g) of the INA for further review
               of additional ineligibility grounds,                    LE
                     LE        as appropriate.

               5. (U) This was reflected well by the Secretary's statement on March 16, that
               "when you apply to enter the United States and you get a visa, you are a
               guest…if you tell us when you apply for a visa, 'I'm coming to the U.S. to
               participate in pro-Hamas events,' that runs counter to the foreign policy
               interest of the United States…if you had told us you were going to do that,
               we never would have given you the visa."

               6. (SBU) Situations that Cast Doubt on Students' Intent or Credibility: As
               described in 9 FAM 402.5-5(C), an applicant applying for an F-1 or M-1
               student visa must demonstrate intent to enter the United States solely to
               pursue a full course of study at an approved institution. In addition, J-1 visa
               applicants who are college, university, and other post-secondary students
               are required to pursue a full course of study as described in 9 FAM 402.5-
               6(E)(11). Evidence suggesting a student visa applicant intends to travel to




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               the United States to engage in unlawful activities clearly calls into question
               whether the applicant possesses intent and/or the ability to solely pursue a
               full course of study. While many activities may not fall under the INA's
               definitions of "terrorist activity," you should otherwise consider that
               information in assessing the credibility of a visa applicant's claimed purpose
               of travel. INA section 214(b) requires the applicant to show credibly that all
               activities in which he or she is expected to engage in while in the United
               States are consistent with the specific requirements of their visa
               classification.

               7. (SBU) ACTION REQUEST: Mandatory Social Media Reviews for Students
               and Student Exchange Visitors. Effective immediately, consular officers
               must refer all new or returning F-1, M-1, or student J-1 visa applications
               meeting one or more of the following criteria, that the consular officer has
               determined is otherwise eligible for the requested nonimmigrant status, to
               the FPU via ECAS as described in 7 FAH-1 H-945.4, using the SOCIAL MEDIA
               REVIEW category.                            LE

                                                        LE

                                                                                             E

                                                       LE

                                                      LE


               8. (SBU) Documenting the Results of the Social Media Review: If the social
               media review uncovers potentially derogatory information indicating that
               the applicant may not be eligible for a visa, Fraud Prevention Units are
               required to take screenshots of social media findings to the extent it is
               relevant to a visa ineligibility, to preserve the record against the applicant's
               later alteration of the information. Limit screenshots to information
               relevant to connecting the applicant, the applicant's actions, and a visa
               ineligibility.                             LE




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                                                   LE




               9. (SBU) Support for Terrorist Organizations - Grounds and Definitions for
               INA 212(a)(3)(B): All consular officers should carefully review 9 FAM 302.6
               to understand the grounds under which an applicant may be ineligible under
               3B, including that an applicant who "endorses or espouses terrorist activity
               or persuades others to endorse or espouse terrorist activity or support a
               terrorist organization" is ineligible. Consular officers should consider these
               grounds and definitions when conducting interviews and pursuing lines of
               inquiry. Because terms in INA 212(a)(3)(B) are broadly defined, consular
               officers should elicit as much pertinent information as possible from visa
               applicants with suspected ties to terrorist organizations or terrorist
               activity. This includes the names of all relevant organizations potentially
               involved in terrorist activity and the applicant's relationship with them (for
               example, by current membership or past financial contributions or other
               support). Evidence that an applicant advocates for terrorist activity, or
               otherwise demonstrates a degree of public approval or public advocacy for
               terrorist activity or a terrorist organization, may be indicative of ineligibility
               under INA 212(a)(3)(B). This may be evident in conduct that bears a hostile
               attitude toward U.S. citizens or U.S. culture (including government,
               institutions, or founding principles). Or it may be evident in advocacy or
               sympathy for foreign terrorist organizations. All of these matters may open
               lines of inquiry regarding the applicant's credibility and purpose of
               travel. Consular officers should inquire into the nature and activities of
               those organizations.                            LE




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                                                    LE


               10. (SBU) Intention to Engage in Unlawful Activity: Consular officers are
               also reminded of guidance in 9 FAM 302.5-4 regarding the applicability of
               INA 212(a)(3)(A)(ii) under which a visa applicant is ineligible if the consular
               officer knows or has reason to believe that the applicant is traveling to the
               United States solely, principally, or incidentally to engage in any other
               unlawful activity. Consular officers should take care to enter detailed case
               notes regarding the specific activities expected in the United States and
               request an advisory opinion per 9 FAM 302.5-4(C).

               11. (SBU) Revocations of Valid Visas: If, subsequent to visa issuance,
               information becomes available to post that an individual may no longer be
               eligible for a visa due to particularized information indicating an ineligibility
               under specific INA provisions, including 214(b), post should follow the
               procedures to revoke or request prudential revocation as described in 9
               FAM 403.11 for nonimmigrant visas or 9 FAM 504.12 for immigrant
               visas. The Visa Office reminds posts that consular officers do not have the
               authority to revoke a visa based on a suspected ineligibility or based on
               derogatory information that is insufficient to support an ineligibility finding -
               other than a revocation based on driving under the influence (DUI) - and
               that such cases should be referred           LE         in accordance with 9
               FAM 403.11-5(B) for further review. A consular officer's revocation must be
               based on an actual finding that the individual is ineligible for the visa.

               12. (U) Additional Guidance: The Visa Office will host webinars for consular
               officers to discuss this guidance on Thursday, April 3 and Friday, April 4,
               2025. Invitations with links to these webinars will be sent separately. The
               FAM will be updated to reflect this guidance.

               13. (U) Inquiries: Post must refer any U.S. media inquiries regarding E.O.s to
               CA-Press@state.gov and congressional inquiries regarding E.O.s to
               ConsularOnTheHill@state.gov. Posts may respond to requests from




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               international media regarding E.O.s using CA's cleared press guidance
               located on CA Web, copying CA-PRESS@STATE.GOV.

               14. (U) Minimize considered.


                MINIMIZE CONSIDERED
                Signature:      RUBIO

                XMT:           BASRAH, AMCONSUL; CARACAS, AMEMBASSY; CHENGDU, AMCONSUL;
                               KABUL, AMEMBASSY; MINSK, AMEMBASSY; SANAA, AMEMBASSY; ST
                               PETERSBURG, AMCONSUL; VLADIVOSTOK, AMCONSUL;
                               YEKATERINBURG, AMCONSUL

                                               UNCLASSIFIED
                                                   SBU




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        Notification of Removability Determination under INA 237(a)(4)(C)



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                             Notice to Appear



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                               Form I-261



                    Filed Under Seal
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                         Warrant for Arrest of Alien



                    Filed Under Seal
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         Notification of Deportability Determination under INA 237(a)(4)(C)



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                              Notice to Appear



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                          Warrant for Arrest of Alien




                    Filed Under Seal
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                         Notice of Custody Determination



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                         Visa Revocation – Memo for ICE



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                             Notice to Appear




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                         Warrant for Arrest of Alien



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        Notification of Removability Determination under INA 237(a)(4)(C)



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                    Unserved Warrant for Arrest of Alien



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       Notification of Deportability Determination under INA 237(a)(4)(C)



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